Case 3:11-cr-00005-TJC-JRK Document 840 Filed 05/30/14 Page 1 of 1 PagelD 5259

 

FILED IN OPEN COURT

UNITED STATES DISTRICT COURT 5/ BO] )4-

MIDDLE DISTRICT OF FLORIDA |

JACKSONVILLE DIVISION CLERK. U. S. DISTRICT COURT

MIDDLE OISTRICT OF FLORIDA
UNITED STATES OF AMERICA JACKSONVILLE, FLORIDA)
|
vs. CASE NO.: 3:11-cr-5($5)-J-32URK'

DONALD HALL |

 

NOTICE REGARDING ENTRY
OF A PLEA OF GUILTY

In the event the Defendant decides at any time before trial to enter a plea of guilty,
the United States Magistrate Judge is authorized by Local Rule 6.01(c)(12), United States
District Court, Middle District of Florida, with the consent of the Defendant, to conduct the
proceedings required by Rule 11, Fed.R.Crim.P. incident to the making of the plea. If, after

conducting such proceedings, the Magistrate Judge recommends that the plea of guilty be

accepted, a presentence investigation and report will be ordered pursuant to Rule 32

 

Fed.R.Crim.P. The assigned United States District Judge will then act on the Magistrate
Judge's Report and Recommendation; and, if the plea of guilty is accepted, will adjudicate

guilt and schedule a sentencing hearing at which the District Judge will decide whether to

|

accept or reject any associated plea agreement, and will determine and impose sentence.
CONSENT

| hereby declare my intention to enter a plea of guilty in the above case, and | request
and consent to the United States Magistrate Judge conducting the proceedings required by,
Rule 11, Fed.R.Crim.P., incident to the making of such plea. | understand that if my plea
of guilty is then accepted by the District Judge, the District Judge will decide whether to

accept or reject any plea agreement | may have with the United States, and will adjudicate
guilt and impose sentence.

Date: oe gh 30, 2014 Pol yf)
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Deféndant

 

 

 
